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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                    No. 4:08CR00054-07 JLH

JASON GILBERT

                                               JUDGMENT

        Pursuant to the Opinion and Order entered separately today, Jason Gilbert’s motion to vacate,

set aside, or correct his sentence under 28 U.S.C. § 2255 is denied. Document #403. Because

Gilbert has failed to make a substantial showing that he was denied a constitutional right, no

certificate of appealability will be issued.

        IT IS SO ORDERED this 25th day of February, 2014.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
